609 F.2d 266
    102 L.R.R.M. (BNA) 2894, 87 Lab.Cas.  P 11,660
    NATIONAL LABOR RELATIONS BOARD, Petitioner,andGarst-Receveur Construction Company, Inc., Intervenor,v.LOCAL UNION NO. 369, INTERNATIONAL BROTHERHOOD OF ELECTRICALWORKERS, AFL-CIO, Respondent.
    No. 77-1420.
    United States Court of Appeals,Sixth Circuit.
    Argued Oct. 4, 1979.Decided Nov. 13, 1979.
    
      Elliott Moore, Deputy Associate Gen. Counsel, N. L. R. B., Washington, D. C., for petitioner.
      Emil C. Farkas, Dir., Region 9, N.L.R.B., Cincinnati, Ohio, Lafe E. Solomon, Washington, D. C., for intervenor-below.
      Charles R. Isenberg, Linda J. Wallbaum, Segal, Isenberg, Sales, Stewart &amp; Nutt, Louisville, Ky., for respondent.
      Before EDWARDS, Chief Judge, KEITH, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board seeks enforcement of its order, reported at 229 N.L.R.B. No. 17 (1977), requiring respondent, Local Union No. 369, International Brotherhood of Electrical Workers, AFL-CIO, to cease and desist from certain unfair labor practices which the Board had held to constitute a secondary boycott, in violation of § 8(b)(4)(i) and (ii)(B) of the National Labor Relations Act, 29 U.S.C. § 141, Et seq.  The Board's findings were based primarily upon statements made by the business agent of the defendant and another business agent to the general contractor in the presence of other uninvolved subcontractors, which statements the Board held had the effect of coercing neutral employers to cease doing business with a nonunion concern, Arrow Electric Company, against which the local union had set up a picket line at a "reserved" gate on the construction project.
    
    
      2
      Although we recognize some considerable strength in Board member Fanning's dissent, a review of this record convinces this court that the statements relied upon by the majority do constitute substantial evidence on the whole record to support the Board's finding and order.
    
    
      3
      For these reasons, the enforcement of the Board's order is granted.
    
    